






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00036-CR






Sloan Holloway, Jr., Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TARRANT COUNTY, 371ST JUDICIAL DISTRICT


NO. 0760648D, HONORABLE JAMES R. WILSON, JUDGE PRESIDING






O R D E R


PER CURIAM

Appellant's retained attorney on appeals has filed a motion to withdraw expressing
his belief that this appeal is frivolous.  The motion states that appellant has been properly notified
and consents to the motion.  See Tex. R. App. P. 6.5.  

The motion to withdraw is granted.  This cause will be submitted for decision without
briefs on June 3, 2002, unless before that date the Clerk receives notice of the employment of
substitute counsel.  

It is ordered May 10, 2002.


Before Chief Justice Aboussie, Justices B. A. Smith and Yeakel

Do Not Publish


